              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 1 of 434 PageID #: 314

Exhibit 4 to the Complaint.




                              U.S. Patent No. 9,300,723 v. Roche Accu-Chek.




                                                                                                   1
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 2 of 434 PageID #: 315

Exhibit 4 to the Complaint.



1. Claim Chart
    Claim                                                                 Analysis
 [1.P] A media Roche makes, uses, sells, and/or offers to sell a media system.
 system,
 comprising:   This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                 For example, Company provides Accu-Chek Guide Meter, a blood glucose meter designed to measure blood sugar levels.
                 This device transmits the measured blood sugar levels to the mySugr app, installed on the user's smartphone, using a
                 Bluetooth network.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                        2
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 3 of 434 PageID #: 316

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/products/meters/guide




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



                                                                                                                           3
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 4 of 434 PageID #: 317

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   4
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 5 of 434 PageID #: 318

Exhibit 4 to the Complaint.




                 Source: https://www.mysugr.com/en-us/




                                                                                                   5
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 6 of 434 PageID #: 319

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




                                                                                                                        6
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 7 of 434 PageID #: 320

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                   7
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 8 of 434 PageID #: 321

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   8
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 9 of 434 PageID #: 322

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   9
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 10 of 434 PageID #: 323

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29
                 ann




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 11 of 434 PageID #: 324

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   11
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 12 of 434 PageID #: 325

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.




                                                                                                                                      12
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 13 of 434 PageID #: 326

Exhibit 4 to the Complaint.



 [1.1] at least
 one     media    Company makes, uses, sells and/or offers to sell at least one media terminal disposed in an accessible relation to at least
 terminal         one interactive computer network.
 disposed in
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 an accessible
 relation to at   For example, the Accu-Chek Guide transmits the blood sugar levels to the mySugr app, installed on the user's smartphone
 least      one   ("media terminal"), using Bluetooth network ("interactive computer network"). Since, the smartphone communicates
 interactive      and sends data to the Accu-Chek Guide using Bluetooth, it is apparent for a person having ordinary skills in the art that,
 computer         at least one media terminal disposed in an accessible relation to at least one interactive computer network.
 network,




                                                                      interactive
                                                                      computer
                                                                      network

                                                                     media
                                                                     terminal




                                                                                                                                            13
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 14 of 434 PageID #: 327

Exhibit 4 to the Complaint.



                 Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                  interactive                                                  media
                                                  computer                                                     terminal
                                                  network



                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                                                14
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 15 of 434 PageID #: 328

Exhibit 4 to the Complaint.




                                                     media
                                                     terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                         15
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 16 of 434 PageID #: 329

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   16
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 17 of 434 PageID #: 330

Exhibit 4 to the Complaint.




                                                      media
                                                      terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                   17
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 18 of 434 PageID #: 331

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   18
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 19 of 434 PageID #: 332

Exhibit 4 to the Complaint.




                 Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
 [1.2]       a Company makes, uses, sells and/or offers to sell a wireless range structured to permit authorized access to said at least
 wireless      one interactive computer network.
 range
 structured to   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 permit
 authorized      For example, the Accu-Chek Guide and the smartphone, on which the mySugr app is installed, are paired with each other
 access to       using the Bluetooth network (“interactive computer network”). This network facilitates the pairing of the smartphone
 said at least   and the Accu-Chek Guide when they are within Bluetooth range of each other. To complete the Bluetooth pairing, the
 one             user is required to input the PIN (“permit authorized access”) of the Accu-Chek Guide into the mySugr app. It would be
 interactive     apparent to a person of ordinary skill in the art that wireless range structured to permit authorized access to at least one
 computer        interactive computer network.
 network,




                                                                                                                                            19
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 20 of 434 PageID #: 333

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/products/meters/guide




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



                                                                                                                           20
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 21 of 434 PageID #: 334

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   21
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 22 of 434 PageID #: 335

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   22
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 23 of 434 PageID #: 336

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   23
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 24 of 434 PageID #: 337

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   24
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 25 of 434 PageID #: 338

Exhibit 4 to the Complaint.




                                                                                                         authorized
                                                                                                         access




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29 (annotated)




                                                                                                                      25
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 26 of 434 PageID #: 339

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 27 of 434 PageID #: 340

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43




                                                                                                   27
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 28 of 434 PageID #: 341

Exhibit 4 to the Complaint.



 [1.3] at least
 one     media    Company makes, uses, sells and/or offers to sell at least one media node disposable within said wireless range, wherein
 node             said at least one media node is detectable by said at least one media terminal.
 disposable
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 within said
 wireless         For example, the Accu-Chek Guide ("media node") employs the Bluetooth network ("interactive computer network") to
 range,           pair with the mySugr app which is installed on the user's smartphone. The Accu-Chek Guide is within the Bluetooth
 wherein said     range of the smartphone where the mySugr app is installed. The mySugr detects the Accu-Chek Guide which is within
 at least one     its Bluetooth range (“disposable within the wireless range”).
 media node is
 detectable
 by said at
 least      one
 media                                                                               media terminal
 terminal,




                                                                                   media node




                  Source: https://www.accu-chek.com/products/mysugr (annotated)


                                                                                                                                        28
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 29 of 434 PageID #: 342

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                              media
                                                              node




                                                                                                   29
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 30 of 434 PageID #: 343

Exhibit 4 to the Complaint.



                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
                 (annotated)




                 Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




                                                                                                                        30
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 31 of 434 PageID #: 344

Exhibit 4 to the Complaint.




                                                         media
                                                         terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




                                                                                                   31
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 32 of 434 PageID #: 345

Exhibit 4 to the Complaint.




                                                      media
                                                      terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                   32
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 33 of 434 PageID #: 346

Exhibit 4 to the Complaint.




                                                       media
                                                       terminal




                                                  media node is
                                                  detectable
                                                  by the media
                                                  terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                   33
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 34 of 434 PageID #: 347

Exhibit 4 to the Complaint.




                                                       media
                                                       terminal




                                                  media node is
                                                  detectable
                                                  by the media
                                                  terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




                                                                                                   34
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 35 of 434 PageID #: 348

Exhibit 4 to the Complaint.




                  Source: https://www.accu-chek.com/support/products/guide


                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
 [1.4] at least
 one      digital Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on at least one of said at
 media       file least one media terminal or said at least one media node, said at least one media terminal being structured to detect said
 initially        at least one media node disposed within said wireless range.


                                                                                                                                               35
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 36 of 434 PageID #: 349

Exhibit 4 to the Complaint.



 disposed on
 at least one of   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said at least
                   For example, the Accu-Chek Guide meter measures the blood sugar levels (“digital media file”). These measured blood
 one      media
                   sugar levels are saved in the Accu-Chek Guide meter (“digital media file initially disposed on at least one of said media
 terminal or
                   terminal or said at least one media node”). The mySugr app installed in the user’s smartphone detects (“at least one media
 said at least
                   terminal structured to detect said at least one media node”) the Accu-Chek Guide meter through Bluetooth and establishes
 one
                   a connection (gets paired).
 media node,
 said at least
 one      media
 terminal
 being
 structured to
 detect said at
 least      one
 media node                                                  media node
 disposed
 within said                                                              digital
 wireless                                                                 media file
 range,




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70
                   (annotated)




                                                                                                                                            36
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 37 of 434 PageID #: 350

Exhibit 4 to the Complaint.




                                                              media
                                                              node




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
                 (annotated)




                 Source: https://www.accu-chek.com/products/meters/guide


                                                                                                                       37
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 38 of 434 PageID #: 351

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   38
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 39 of 434 PageID #: 352

Exhibit 4 to the Complaint.




                                                      media
                                                      terminal




                                                  media terminal
                                                  structured to detect
                                                  said at least
                                                  one media node




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                   39
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 40 of 434 PageID #: 353

Exhibit 4 to the Complaint.




                                                              media
                                                              terminal




                                                         media terminal
                                                         structured to detect
                                                         said at least
                                                         one media node




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.5]         a
 communicati       Company makes, uses, sells and/or offers to sell a communication link structured to dispose said at least one media
 on         link   terminal and said at least one media node in a communicative relation with one another via said at least one interactive
 structured to     computer network.
 dispose said
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one

                                                                                                                                          40
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 41 of 434 PageID #: 354

Exhibit 4 to the Complaint.



 media
 terminal and      For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
 said at least     Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
 one      media    Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
 node in a         one another via said interactive computer network”).
 communicati
 ve     relation
 with       one
 another via
 said at least
 one
 interactive
 computer
 network,

                   Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                        41
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 42 of 434 PageID #: 355

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                           42
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 43 of 434 PageID #: 356

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   43
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 44 of 434 PageID #: 357

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                   44
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 45 of 434 PageID #: 358

Exhibit 4 to the Complaint.




                                                    media
                                                    terminal




                                               media node




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                         45
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 46 of 434 PageID #: 359

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   46
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 47 of 434 PageID #: 360

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                   47
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 48 of 434 PageID #: 361

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   48
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 49 of 434 PageID #: 362

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
 [1.6]     said Company makes, uses, sells and/or offers to sell said communication link being initiated by said at least one media
 communicati terminal.
 on link being
 initiated by This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said at least
 one            For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
                channel with the Accu-Chek Guide.


                                                                                                                                     49
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Exhibit 4 to the Complaint.



 media
 terminal,




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   50
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 51 of 434 PageID #: 364

Exhibit 4 to the Complaint.




                                                                                                         media
                                                                                                         terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                                    51
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 52 of 434 PageID #: 365

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   52
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 53 of 434 PageID #: 366

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   53
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 54 of 434 PageID #: 367

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                   54
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 55 of 434 PageID #: 368

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   55
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 56 of 434 PageID #: 369

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
 [1.7] said at Company makes, uses, sells and/or offers to sell said at least one media node and said at least one media terminal being
 least     one structured to transmit said at least one digital media file therebetween via said communication link.
 media node
 and said at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 media         For example, after establishing a Bluetooth channel (“communication link”) between the mySugr app installed on the
               user’s smartphone and the Accu-Chek Guide, the Accu-Chek Guide (“media node") sends (“structured to transmit”) the

                                                                                                                                      56
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 57 of 434 PageID #: 370

Exhibit 4 to the Complaint.



 terminal        measured blood sugar levels (“at least one digital media file”) to the mySugr app installed on the user’s smartphone
 being           (“media terminal”).
 structured to
 transmit said
 at least one
 digital media
 file
 therebetween
 via        said
 communicati
 on
 link, and
                 Source: https://www.accu-chek.com/products/meters/guide




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70

                                                                                                                                    57
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Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   58
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Exhibit 4 to the Complaint.




                                                                                 media node
                                                                                 transmits digital
                                                                                 media file to
                                                                                 media terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                         59
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 60 of 434 PageID #: 373

Exhibit 4 to the Complaint.




                                                     media node
                                                     transmits
                                                     digital media
                                                     file


                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
 [1.8]     said Company makes, uses, sells and/or offers to sell said communication link is structured to bypass at least one media
 communicati terminal security measure for a limited permissible use of the communication link by the media node to only transferring
 on link is the at least one digital media file to, and displaying the at least one digital media file on, the at least one media terminal.
 structured to
 bypass      at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least one


                                                                                                                                          60
              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 61 of 434 PageID #: 374

Exhibit 4 to the Complaint.



 media             For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security
 terminal          measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and
 security          thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (“at least one
 measure for a     media terminal security measure”). The Accu-Chek Guide meter uses that communication channel only for
 limited           transmitting the measured blood sugar levels to the mySugr app (“bypass at least one media terminal security measure
 permissible       for a limited permissible use of the communication link by the media node to only transferring the at least one digital
 use of the        media file”). The mySugr app displays the received the measured blood sugar levels. Therefore, upon information
 communicati       and belief, the Bluetooth channel created between Accu-Chek Guide meter and mySugr app bypass at least one
 on link by the    media terminal security measure.
 media node to
 only
 transferring
 the at least
 one     digital
 media file to,
 and
 displaying
 the at least
 one     digital
 media file on,
                   Source: https://www.accu-chek.com/products/meters/guide
 the at
 least      one
 media
 terminal.




                                                                                                                                             61
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 62 of 434 PageID #: 375

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 63 of 434 PageID #: 376

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 64 of 434 PageID #: 377

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 65 of 434 PageID #: 378

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 66 of 434 PageID #: 379

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 67 of 434 PageID #: 380

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 68 of 434 PageID #: 381

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   68
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 69 of 434 PageID #: 382

Exhibit 4 to the Complaint.




                 Source: https://www.mysugr.com/en-us/diabetes-app/




                                                       display
                                                       digital
                                                       media file




                                                        media
                                                        terminal

                 Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                   69
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 70 of 434 PageID #: 383

Exhibit 4 to the Complaint.



                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to the production of such source code by Company.
 [3]       The Company makes, uses, sells and/or offers to sell the transmission of the media file from the at least one media node to
 method     of the at least one media terminal completely bypasses the security measure.
 claim       1,
 wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 transmission
 of the media For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security
 file from the measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and
 at least one thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (bypasses the security
 media node to measure). Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter
 the at least and mySugr app bypass the security measure.
 one     media
 terminal
 completely
 bypasses the
 security
 measure.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                     70
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 71 of 434 PageID #: 384

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                           71
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Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 73 of 434 PageID #: 386

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                   73
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 74 of 434 PageID #: 387

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 75 of 434 PageID #: 388

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   75
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 76 of 434 PageID #: 389

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                   76
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 77 of 434 PageID #: 390

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   77
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 78 of 434 PageID #: 391

Exhibit 4 to the Complaint.




                 Source: https://www.mysugr.com/en-us/diabetes-app/




                                                       digital
                                                       media file




                 Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                   78
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Exhibit 4 to the Complaint.



                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by Company.
 [6]         The Company makes, uses, sells and/or offers to sell the communication link is at least one of a peer-to-peer connection,
 system       of bluetooth connection, and a WiFi connection.
 claim        1,
 wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 communicati
 on link         For example, mySugr app installed in the user’s smartphone detects the Accu-Chek Guide meter through Bluetooth and
 is at least one establishes a connection (“communication link”).
 of a peer-to-
 peer
 connection,
 bluetooth
 connec
 tion, and a
 WiFi
 connection.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                      79
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 80 of 434 PageID #: 393

Exhibit 4 to the Complaint.



                 Source: https://www.accu-chek.com/products/meters/guide




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 81 of 434 PageID #: 394

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
 [8]       The Company makes, uses, sells and/or offers to sell presenting the at least one digital media file on a display.
 system     of
 claim      1, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 further
 comprising      For example, the mySugr app installed on the user’s smartphone displays the measured blood sugar levels.

                                                                                                                                    81
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 82 of 434 PageID #: 395

Exhibit 4 to the Complaint.



 presenting
 the
 at least one
 digital media
 file on a
 display.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                   82
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 83 of 434 PageID #: 396

Exhibit 4 to the Complaint.



                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                 Source: https://www.mysugr.com/en-us/diabetes-app/




                                                       display
                                                       digital
                                                       media file




                                                        media
                                                        terminal

                 Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)


                                                                                                   83
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Exhibit 4 to the Complaint.




                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
 [9]       The Company makes, uses, sells and/or offers to sell at least one digital media file is provided by the at least one media node.
 system     of
 claim       1, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 wherein the at
 least     one For example, the Accu-Chek Guide (“media node") sends the measured blood sugar levels (“at least one digital media
 digital media file”) to the mySugr app installed on the user’s smartphone.
 file        is
 provided by
 the at least
 one     media
 node.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                          84
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 85 of 434 PageID #: 398

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                           85
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Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




                                                                                                   86
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 87 of 434 PageID #: 400

Exhibit 4 to the Complaint.




                                                                                   media node
                                                                                   transmits digital
                                                                                   media file to
                                                                                   media terminal




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                         87
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 88 of 434 PageID #: 401

Exhibit 4 to the Complaint.




                                                    media node
                                                    transmits digital
                                                    media file




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
 [12.P]      A Roche Diagnostics Corporation (“Company”) makes, uses, sells, and/or offers to sell a media system configured to
 media system receive a media file from a wireless mobile device over communication network.
 configured to
 receive      a This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media     file
 from


                                                                                                                                     88
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 89 of 434 PageID #: 402

Exhibit 4 to the Complaint.



 a     wireless For example, Company provides mySugr app (“media system”) to receive measured blood sugar levels from a Accu-
 mobile         Chek Guide meter (“wireless mobile device”). The mySugr app, installed on the user's smartphone, receive the measured
 device over blood sugar levels from the Accu-Chek Guide, using a Bluetooth network.
 communicati
 on network,
 com
 prising:




                 Source: https://www.mysugr.com/en-us/




                                                                                                                                    89
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 90 of 434 PageID #: 403

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 91 of 434 PageID #: 404

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/products/meters/guide




                 Source: https://www.accu-chek.com/products/meters/guide




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Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                           92
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 93 of 434 PageID #: 406

Exhibit 4 to the Complaint.




                 Source: https://www.accu-chek.com/support/products/guide




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Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                   94
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 95 of 434 PageID #: 408

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   95
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 96 of 434 PageID #: 409

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   96
             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 97 of 434 PageID #: 410

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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             Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 98 of 434 PageID #: 411

Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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Exhibit 4 to the Complaint.




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
 [12.1]      a
 wireless        Company makes, uses, sells and/or offers to sell a wireless receiver.
 receiver;
                 This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                 For example, the mySugr app, installed on the user's smartphone, includes a Bluetooth receiver (“wireless receiver”) for
                 receiving data from the Accu-Chek Guide.


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                                                     413
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/products/meters/guide




                                                                                                    100
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 101 of 434 PageID #:
                                                     414
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    101
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                                                     415
Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07


             Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
             supplement these contentions pursuant to production of such source code by the Defendant.
[12.2]     a Company makes, uses, sells and/or offers to sell a security measure.
security
measure; and   This element is infringed literally, or in the alternative, under the doctrine of equivalents.

               For example, the mySugr app, installed on the user’s smartphone, initially require users to input a PIN (“security
               measure”) which is necessary during the initial pairing process with the Accu-Chek Guide.



                                                                                                                                 102
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 103 of 434 PageID #:
                                                     416
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/products/meters/guide




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



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                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 104 of 434 PageID #:
                                                     417
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    104
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                                                     418
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                    105
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                                                     419
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                    106
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 107 of 434 PageID #:
                                                     420
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    107
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                                                     421
Exhibit 4 to the Complaint.




                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[12.3]      the
media system      Company makes, uses, sells and/or offers to sell the media system disposed in an accessible relation to at least one
disposed in       interactive computer network that has a wireless range structured to permit authorized access to said at least one
an accessible     interactive computer network,
relation to at
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
least      one
interactive       For example, the mySugr app, installed on the user's smartphone ("media system") receives the blood sugar levels from
computer          the Accu-Chek Guide using Bluetooth network ("interactive computer network"). Since, the smartphone communicates


                                                                                                                                      108
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                                                     422
Exhibit 4 to the Complaint.



network that and receives data from the Accu-Chek Guide using Bluetooth, it is apparent for a person having ordinary skills in the art
has a wire     that, the media system disposed in an accessible relation to at least one interactive computer network that has a wireless
less     range range structured to permit authorized access to at least one interactive computer network.
structured to
permit
authorized
access to said
at least one
interactive
computer
network,                                                          interactive
                                                                  computer
                                                                  network




                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                                       109
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 110 of 434 PageID #:
                                                     423
Exhibit 4 to the Complaint.




                                              interactive                                             media
                                              computer                                                system
                                              network



              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                               110
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                                                     424
Exhibit 4 to the Complaint.




                                                  media
                                                  system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                      111
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                                                     425
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    112
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                                                     426
Exhibit 4 to the Complaint.




                                                   media
                                                   system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    113
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 114 of 434 PageID #:
                                                     427
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/support/products/guide




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                                                     428
Exhibit 4 to the Complaint.




                 Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Defendant.
[12.4]    the Company makes, uses, sells and/or offers to sell the wireless mobile device within said wireless range, wherein said
wireless      wireless mobile device is detectable by said media system,
mobile
device within    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
said wireless
range,           For example, the Accu-Chek Guide (“wireless mobile device”) and the smartphone (“media system”), on which the
wherein said     mySugr app is installed, are paired with each other using the Bluetooth network (“interactive computer network”). This
wireless         network facilitates the pairing of the smartphone and the Accu-Chek Guide when they are within Bluetooth range of
mobile           each other. The mySugr app detects the list of Accu-Chek Guides which are in the Bluetooth range (“wireless mobile
device      is   device is detectable by said media system”).
detectable by
said
media
system,




                                                                                                                                     115
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 116 of 434 PageID #:
                                                     429
Exhibit 4 to the Complaint.




                                                                        media system




                                                                 wireless mobile device




              Source: https://www.accu-chek.com/products/mysugr (annotated)




              Source: https://www.accu-chek.com/products/meters/guide

                                                                                                    116
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 117 of 434 PageID #:
                                                     430
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 118 of 434 PageID #:
                                                     431
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/support/products/guide




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                                                     432
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 120 of 434 PageID #:
                                                     433
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 121 of 434 PageID #:
                                                     434
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     435
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 123 of 434 PageID #:
                                                     436
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    123
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[12.5] at least Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on the wireless mobile
one      digital device, said media system being structured to detect said wireless mobile device disposed within said wireless range.
media       file
initially        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
disposed on
the              For example, the Accu-Chek Guide ("wireless mobile device") employs the Bluetooth network to pair with the mySugr
                 app which is installed on the user's smartphone. The mySugr app detects the Accu-Chek Guides which are within its

                                                                                                                                        124
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wireless       Bluetooth range (“media system being structured to detect said wireless mobile device disposed within said wireless
mobile         range”).
device, said
media system
being
structured to                                                               media system
detect    said
wireless
mobile
device
disposed                                                                  wireless mobile
within said                                                               device
wireless
range,




               Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                125
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              Source: https://www.accu-chek.com/products/meters/guide




                                                           wireless
                                                           mobile
                                                           device




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
              (annotated)


                                                                                                                   126
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              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




                                                                                                                     127
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                                                      media
                                                      system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




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                                                   media
                                                   system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    129
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                                                    media
                                                    system




                                               wireless mobile
                                               device is detectable
                                               by the media
                                               system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                    130
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                                                    media
                                                    system




                                               wireless mobile
                                               device is detectable
                                               by the media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




                                                                                                    131
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                                                     445
Exhibit 4 to the Complaint.




               Source: https://www.accu-chek.com/support/products/guide

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[12.6]       a Company makes, uses, sells and/or offers to sell a communication link structured to dispose said media system and said
communicati wireless mobile device in a communicative relation with one another via said at least one interactive computer network.
on        link
structured to This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                   132
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dispose said      For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
media             Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
system and        Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
said wireless     one another via said at least interactive computer network”).
mobile
device in a
communicati
ve     relation
with       one
another via
said at least
one
interactive
computer
network,
                  Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                      133
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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     449
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                 media
                                                 system




                                            wireless
                                            mobile
                                            device




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                      137
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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     452
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     453
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    140
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                                                     454
Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[12.7]    said Company makes, uses, sells and/or offers to sell said communication link being initiated by said media system.
communicati
on link being This element is infringed literally, or in the alternative, under the doctrine of equivalents.
initiated by
said media     For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
system,        channel with the Accu-Chek Guide.



                                                                                                                                   141
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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    142
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                                                                                                      media
                                                                                                      system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                               143
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                                                     457
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     459
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     460
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    147
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                                                     461
Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[12.8]    said Company makes, uses, sells and/or offers to sell said wireless mobile device and media system being structured to
wireless       transmit said at least one digital media file therebetween via said communication link.
mobile
device    and This element is infringed literally, or in the alternative, under the doctrine of equivalents.
media system
being          For example, after establishing a Bluetooth channel (“communication link”) between the mySugr app installed on the
structured to user’s smartphone and the Accu-Chek Guide, the Accu-Chek Guide (“wireless mobile device") sends (“structured to

                                                                                                                                   148
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transmit said transmit”) the measured blood sugar levels (“at least one digital media file”) to the mySugr app installed on the user’s
at least one smartphone (“media system”).
digital media
file
therebetween
via       said
communicati
on link, and




               Source: https://www.accu-chek.com/products/meters/guide




               Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70

                                                                                                                                    149
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              Source: https://www.accu-chek.com/support/products/guide




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                                                                              wireless mobile
                                                                              device transmits
                                                                              digital media file
                                                                              to media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                      151
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                                                   wireless mobile
                                                   device transmits
                                                   digital media file




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[12.9]    said Company makes, uses, sells and/or offers to sell said communication link is structured to bypass the security measure of
communicati the media system for a limited permissible use of the communication link by the wireless mobile device for only
on link is transferring the at least one digital media file to, and displaying the at least one digital media file on, the media system.
structured to
bypass     the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
security
measure of

                                                                                                                                      152
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the     media     For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security
system for a      measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and
limited           thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (“security measure of
permissible       the media system”). The Accu-Chek Guide meter utilizes that communication channel exclusively for transmitting
use of the        the measured blood sugar levels to the mySugr app (“bypass the security measure of the media system for a limited
communicati       permissible use of the communication link by the wireless mobile device for only transferring the at least one digital
on link by the    media file”). The mySugr app displays the received the measured blood sugar levels. Therefore, upon information
wireless          and belief, the Bluetooth channel created between Accu-Chek Guide meter and mySugr app bypass the security
mobile            measure of the media system.
device     for
only
transferring
the at least
one     digital
media file to,
and
displaying
the at least
one     digital
media file on,
                  Source: https://www.accu-chek.com/products/meters/guide
the     media
system.




                                                                                                                                           153
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                                                     467
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     470
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     473
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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Exhibit 4 to the Complaint.




              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    display
                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                    161
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                                                     475
Exhibit 4 to the Complaint.



                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by Company.
[14]       The Company makes, uses, sells and/or offers to sell the transmission of the at least one digital media file from the wireless
media system mobile device to the media system completely bypasses the security measure.
of claim 12,
wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
transmission
of the at least For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security
one     digital measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and
media       file thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (“bypasses the security
from        the measure”). Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter
wireless         and mySugr app completely bypasses the security measure.
mobile
device to the
media system
completely
bypasses the
security
measure.




                Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                       162
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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    164
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                    170
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               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to the production of such source code by Company.
[17]      The Company makes, uses, sells and/or offers to sell the communication link is at least one of a peer-to-peer connection,
media system bluetooth connection, and a WiFi connection.
of claim 12,
wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
communicati
on link is at For example, the mySugr app installed in the user’s smartphone detects the Accu-Chek Guide meter through Bluetooth
least one of a and establishes a connection (“communication link”) for receiving the measured blood sugar level.
peer-to-peer
connection,
blue
tooth
connection,
and a WiFi
connection.



               Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                   171
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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    172
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                                                            bluetooth
                                                            connection

                                                            media system




              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                            173
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Exhibit 4 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.

[19]     The    Company makes, uses, sells and/or offers to sell media system is configured to present the at least one digital
media system    media file on a display.
of claim 12,
wherein the     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
further
media system    For example, the mySugr app installed on the user’s smartphone (“media system”), displays (“present”) the measured
is configured   blood sugar levels (“digital media file”).

                                                                                                                                     174
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to present the
at least one
digital
media file on
a display.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                    175
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Exhibit 4 to the Complaint.



              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    display
                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)


                                                                                                    176
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                                                     490
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               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[20]      The Company makes, uses, sells and/or offers to sell at least one media file is provided by the wireless mobile device.
media system
of claim 12, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
wherein the at
least one      For example, the Accu-Chek Guide (“wireless mobile device") sends the measured blood sugar levels (“at least one
media file is media file”) to the mySugr app installed on the user’s smartphone.
provided by
the wireless
mobile
device.




               Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                   177
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Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    179
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                                                     493
Exhibit 4 to the Complaint.




                                                                             wireless mobile
                                                                             device transmits
                                                                             media file to
                                                                             media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                      180
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                                                    wireless mobile
                                                    device transmits
                                                    media file




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[22.P]       A Roche Diagnostics Corporation (“Company”) performs and/or induces others to perform a method of transferring a media
method       of file from a wireless mobile device to a media system over a communication network, the media system including a
transferring a security measure.
media      file
from          a This element is infringed literally, or in the alternative, under the doctrine of equivalents.
wireless


                                                                                                                                    181
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mobile          For example, Company provides mySugr app (“media system”) to receive measured blood sugar levels from a Accu-
device to a     Chek Guide meter (“wireless mobile device”). The mySugr app, installed on the user's smartphone, receive the measured
media system    blood sugar levels from the Accu-Chek Guide, using a Bluetooth network (“communication network”). The mySugr app,
over        a   initially require users to input a PIN (“security measure”) which is necessary during the initial pairing process with the
communicati     Accu-Chek Guide, and thereafter, the devices automatically exchange data without requiring users to re-enter the PIN.
on network,
the     media
system
including a
security
measure,
comprising:

                Source: https://www.mysugr.com/en-us/




                                                                                                                                       182
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              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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              Source: https://www.accu-chek.com/products/meters/guide




              Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     500
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     501
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                                                     502
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     503
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                    190
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                                                     504
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    191
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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[22.1]
disposing the     Company performs and/or induces others to perform the step of disposing the media system in an accessible relation to
media system      at least one interactive computer network that has a wireless range structured to permit authorized access to said at least
in           an   one interactive computer network, wherein the wireless mobile device within said wireless range, wherein said wireless
accessible        mobile device is detectable by said media system.
relation to at
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                          192
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least      one
interactive       For example, the mySugr app, installed on the user's smartphone ("media system") receives the blood sugar levels from
computer          the Accu-Chek Guide (“wireless mobile device”) using Bluetooth network ("interactive computer network"). The Accu-
network that      Chek Guide and the smartphone, on which the mySugr app is installed, are paired with each other using the Bluetooth
has a wireless    network. The pairing process requires the user to input PIN and enables (“permit authorized access”) the Accu-Chek
range             Guide to send the measured blood sugar levels to the mySugr app. The mySugr app detects the Accu-Chek Guide which
structured to     is in the Bluetooth range (“detectable by said media system”). Since, the smartphone communicates and receives data
permit            from the Accu-Chek Guide using Bluetooth, it is apparent for a person having ordinary skills in the art that, the media
authorized        system disposed in an accessible relation to at least one interactive computer network that has a wireless range structured
access to said    to permit authorized access to at least one interactive computer network.
at least one
interactive
computer
network,
wherein the
wireless
mobile
device within
said wireless
range,
wherein said
wireless
mobile
device       is
detectable by
said
media
system,




                                                                                                                                          193
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                                                            interactive
                                                            computer
                                                            network

                                                           media
                                                           system




              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                            194
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                                                                        media system




                                                                 wireless mobile device




              Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                    195
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                                              interactive                                             media
                                              computer                                                system
                                              network



              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                               196
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                                                     510
Exhibit 4 to the Complaint.




                                                  media
                                                  system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                      197
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                                                     511
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    198
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Exhibit 4 to the Complaint.




                                                   media
                                                   system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    199
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                                                     513
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    200
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                                                     514
Exhibit 4 to the Complaint.




                Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[22.2]          Company performs and/or induces others to perform the step of initially disposing at least one digital media file on the
initially       wireless mobile device, said media system being structured to detect said wireless mobile device disposed within said
disposing at wireless range.
least       one
digital media This element is infringed literally, or in the alternative, under the doctrine of equivalents.
file on the
wireless        For example, the Accu-Chek Guide meter measures the blood sugar levels (“digital media file”). These measured blood
mobile          sugar levels are saved in the Accu-Chek Guide meter (“initially disposing at least one digital media file on the wireless
device, said mobile device”). The mySugr app installed in the user’s smartphone detects (“media system being structured to detect
media system said wireless mobile device”) the Accu-Chek Guide meter which are in its Bluetooth range and establishes a connection
being           (gets paired).
structured to
detect     said
wireless
mobile
device
disposed

                                                                                                                                       201
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within said
wireless
range,




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70




                                                                                                                       202
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                                                           wireless mobile
                                                           device




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
              (annotated)




              Source: https://www.accu-chek.com/products/meters/guide


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              Source: https://www.accu-chek.com/support/products/guide




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                                                   media
                                                   system




                                               media system
                                               structured to detect
                                               wireless mobile
                                               device




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                    205
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                                                       media
                                                       system




                                                  media system
                                                  structured to detect
                                                  wireless mobile
                                                  device




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Defendant.
[22.3]        Company performs and/or induces others to perform the step of structuring a communication link to dispose said media
structuring a system and said wireless mobile device in a communicative relation with one another via said at least one interactive
communicati computer network,
on link to
dispose said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
media

                                                                                                                                  206
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                                                     520
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system and       For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
said wireless    Bluetooth pairing. This process creates a Bluetooth channel (“structuring a communication link to dispose”) between
mobile           Accu-Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“communicative relation
device in a      with one another via said at least one interactive computer network”).
communicat-
ive relation
with       one
another via
said at least
one
interactive
computer
network,
                 Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                                                     522
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              Source: https://www.accu-chek.com/support/products/guide




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                                                     523
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                    210
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                                                 media
                                                 system




                                            wireless
                                            mobile
                                            device




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                      211
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                                                     525
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     526
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     527
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[22.4]         Company performs and/or induces others to perform the step of initiating said communication link by said media system.
initiating said
communicati This element is infringed literally, or in the alternative, under the doctrine of equivalents.
on link by
said     media For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
system,         channel with the Accu-Chek Guide.


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              Source: https://www.accu-chek.com/support/products/guide




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                                                     530
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                                                                                                      media
                                                                                                      system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     533
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     534
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[22.5]         Company performs and/or induces others to perform the step of transmitting by said wireless mobile device to the media
transmitting   system said at least one digital media file therebetween via said communication link.
by        said
wireless       This element is infringed literally, or in the alternative, under the doctrine of equivalents.
mobile
device to the For example, after establishing a Bluetooth channel (“communication link”) between the mySugr app installed on the
media          user’s smartphone and the Accu-Chek Guide, the Accu-Chek Guide (“wireless mobile device") sends (“transmitting”)

                                                                                                                                   222
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system said at the measured blood sugar levels (“at least one digital media file”) to the mySugr app installed on the user’s smartphone
least      one (“media system”).
digital media
file
therebetween
via       said
communicati
on link, and




                Source: https://www.accu-chek.com/products/meters/guide




                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70

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              Source: https://www.accu-chek.com/support/products/guide




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                                                     538
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                                                                              wireless mobile
                                                                              device transmits
                                                                              digital media file
                                                                              to media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




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                                                    wireless mobile
                                                    device transmits
                                                    digital media file




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Defendant.
[22.6]        Company performs and/or induces others to perform the step of wherein said communication link is structured to bypass
wherein said the security measure of the media system for a limited permissible use of the communication link by the wireless mobile
communicati device for only transferring the at least one digital media file to, and displaying the at least one digital media file on, the
on link is media system.
structured to
bypass        This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                        226
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the security
measure of
the     media    For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security
system for a     measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and
limited          thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (“security measure of
permissible      the media system”). The Accu-Chek Guide meter utilizes that communication channel exclusively for transmitting
use of the       the measured blood sugar levels to the mySugr app (“bypass the security measure of the media system for a limited
communicati      permissible use of the communication link by the wireless mobile device for only transferring the at least one digital
on link by the   media file”). The mySugr app displays the received the measured blood sugar levels. Therefore, upon information
wire             and belief, the Bluetooth channel created between Accu-Chek Guide meter and mySugr app bypass the security
less mobile      measure of the media system.
device     for
only
transferring
the at least
one
digital media
file to, and
displaying
the at least
one
digital media    Source: https://www.accu-chek.com/products/meters/guide
file on, the
media
system.




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     543
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     544
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                                                     545
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     546
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    234
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              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    display
                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




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                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by Company.
[24]       The Company performs and/or induces others to perform the step of transmission of the at least one digital media file from
method        of the wireless mobile device to the media system completely bypasses the security measure.
claim       22,
wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
transmission
of the at least For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”)
one     digital every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the
media       file devices automatically exchange data without requiring users to re-enter the PIN (“bypasses the security measure”).
from        the Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter and mySugr app
wireless         bypass the security measure.
mobile
device to the
media system
completely
bypasses the
security
measure.




                Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                      236
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                                                     550
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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                        237
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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    238
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                                                     552
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 240 of 434 PageID #:
                                                     553
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                    240
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 241 of 434 PageID #:
                                                     554
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    241
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 242 of 434 PageID #:
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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                    242
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 243 of 434 PageID #:
                                                     556
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    243
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 244 of 434 PageID #:
                                                     557
Exhibit 4 to the Complaint.




              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                    244
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                                                     558
Exhibit 4 to the Complaint.



               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[27]      The Company performs and/or induces others to perform the step of the communication link is at least one of a peer-to-peer
method      of connection, bluetooth connection, and a WiFi connection.
claim      22,
wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
communicati
on link is at For example, the mySugr app installed in the user’s smartphone detects the Accu-Chek Guide meter through Bluetooth
least one of a and establishes a connection (“communication link”) for receiving the measured blood sugar level.
peer-to-peer
connection,
bluetooth
connection,
and a WiFi
connection.




               Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                   245
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 246 of 434 PageID #:
                                                     559
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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    246
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                                                     560
Exhibit 4 to the Complaint.




                                                            bluetooth
                                                            connection

                                                            media system




              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                            247
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 248 of 434 PageID #:
                                                     561
Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07

             Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
             supplement these contentions pursuant to production of such source code by the Defendant.
[29]     The Company performs and/or induces others to perform the step of presenting the at least one digital media file on a display.
method    of
claim    22, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
further
comprising      For example, the mySugr app installed on the user’s smartphone displays (“presenting”) the measured blood sugar levels
presenting      (“digital media file”).
the at least
one     digital

                                                                                                                                     248
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                                                     562
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media file on
a display.




                Source: https://www.accu-chek.com/products/meters/guide




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40


                                                                                                    249
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 250 of 434 PageID #:
                                                     563
Exhibit 4 to the Complaint.




              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    display
                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                    250
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 251 of 434 PageID #:
                                                     564
Exhibit 4 to the Complaint.



               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[30]      The Company performs and/or induces others to perform the step of at least one digital media file is provided by the wireless
method     of mobile device.
claim     22,
wherein the at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
least     one
digital media For example, the Accu-Chek Guide (“wireless mobile device") transmits the measured blood sugar levels (“at least one
file        is digital media file”) to the mySugr app installed on the user’s smartphone.
provided by
the wireless
mobile
device.




                Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                     251
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 252 of 434 PageID #:
                                                     565
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                        252
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 253 of 434 PageID #:
                                                     566
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    253
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                                                     567
Exhibit 4 to the Complaint.




                                                                              wireless mobile
                                                                              device transmits
                                                                              digital media
                                                                              file




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                      254
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 255 of 434 PageID #:
                                                     568
Exhibit 4 to the Complaint.




                                                  wireless mobile
                                                  device transmits
                                                  digital media
                                                  file



               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

             Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
             supplement these contentions pursuant to production of such source code by the Defendant.
[32.P]     A Roche Diagnostics Corporation (“Company”) makes, uses, sells and/or offers to sell a wireless mobile device configured
wireless     to transmit a media file to a media system over a communication network having a security measure.
mobile
device        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
configured to
transmit a    For example, Company provides Accu-Chek Guide (“wireless mobile device”), a blood glucose meter designed to
              measure blood sugar levels. This device transmits the measured blood sugar levels to the mySugr app, installed on the

                                                                                                                                 255
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 256 of 434 PageID #:
                                                     569
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media file to a user's smartphone (“media system”), using a Bluetooth network (“communication network”). The mySugr app, initially
media system require users to input a PIN (“security measure”) which is necessary during the initial pairing process with the Accu-
over          a Chek Guide, and thereafter, the devices automatically exchange data without requiring users to re-enter the PIN.
communicati
on network
having        a
security
measure
comprising:




               Source: https://www.accu-chek.com/products/meters/guide




               Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                 256
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                                                     570
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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 258 of 434 PageID #:
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              Source: https://www.accu-chek.com/support/products/guide




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                                                     572
Exhibit 4 to the Complaint.



              Source: https://www.mysugr.com/en-us/




              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




                                                                                                                     259
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 260 of 434 PageID #:
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Exhibit 4 to the Complaint.




                                                                        media system




                                                                 wireless mobile device




              Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                    260
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 261 of 434 PageID #:
                                                     574
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                    261
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 262 of 434 PageID #:
                                                     575
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                    262
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                                                     576
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    263
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 264 of 434 PageID #:
                                                     577
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                    264
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                                                     578
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    265
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 266 of 434 PageID #:
                                                     579
Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[32.1]      the Company makes, uses, sells and/or offers to sell the media system disposed in an accessible relation to at least one
media system interactive computer network that has a wireless range structured to permit authorized access to said at least one
disposed in interactive computer network.
an accessible
relation to at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
least      one
interactive

                                                                                                                                    266
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                                                     580
Exhibit 4 to the Complaint.



computer         For example, the mySugr app, installed on the user's smartphone ("media system") receives the blood sugar levels to,
network that     from the Accu-Chek Guide using Bluetooth network ("interactive computer network"). The Accu-Chek Guide and the
has a wireless   smartphone, on which the mySugr app is installed, are paired with each other using the Bluetooth network. Since, the
range            smartphone communicates and receives data from the Accu-Chek Guide using Bluetooth, it is apparent for a person
structured to    having ordinary skills in the art that, the media system disposed in an accessible relation to at least one interactive
permit           computer network that has a wireless range structured to permit authorized access to at least one interactive computer
authorized       network.
access to said
at least one
interactive
computer
network,

                                                                  interactive
                                                                  computer
                                                                  network

                                                                 media
                                                                 system




                 Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)



                                                                                                                                      267
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Exhibit 4 to the Complaint.




                                              interactive                                             media
                                              computer                                                system
                                              network



              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                               268
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                                                  media
                                                  system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                      269
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                                                     583
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    270
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                                                   media
                                                   system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    271
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                                                     585
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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    272
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                                                     586
Exhibit 4 to the Complaint.




                 Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Defendant.
[32.2]    the Company makes, uses, sells and/or offers to sell the wireless mobile device within said wireless range, wherein said
wireless      wireless mobile device is detectable by said media system.
mobile
device within    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
said wireless
range,           For example, the Accu-Chek Guide (“wireless mobile device”) and the smartphone (“media system”), on which the
wherein said     mySugr app is installed, are paired with each other using the Bluetooth network (“interactive computer network”). This
wireless         network facilitates the pairing of the smartphone and the Accu-Chek Guide when they are within Bluetooth range of
mobile           each other. The mySugr app detects the list of Accu-Chek Guides which are in the Bluetooth range (“wireless mobile
device      is   device is detectable by said media system”).
detectable by
said
media
system,




                                                                                                                                     273
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                                                                        media system




                                                                 wireless mobile device




              Source: https://www.accu-chek.com/products/mysugr (annotated)




              Source: https://www.accu-chek.com/products/meters/guide

                                                                                                    274
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                                                     588
Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                        275
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                                                     589
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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    276
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                                                     590
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                    277
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                                                     591
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                    278
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                                                     592
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    279
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                                                     593
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29 (annotated)




                                                                                                      280
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                                                     594
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    281
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                                                     595
Exhibit 4 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[32.3] at least Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on the wireless mobile
one      digital device, said media system being structured to detect said wireless mobile device disposed within said wireless range.
media       file
initially        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
disposed on
the              For example, the Accu-Chek Guide ("wireless mobile device") employs the Bluetooth network to pair with the mySugr
                 app which is installed on the user's smartphone. The Accu-Chek Guide is within the Bluetooth range of the smartphone

                                                                                                                                        282
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wireless       where the mySugr app is installed. The smartphone, on which the mySugr app is installed, detects the Accu-Chek Guides
mobile         which are within its Bluetooth range (“media system being structured to detect said wireless mobile device disposed
device, said within said wireless range”).
media system
being
structured to
detect    said                                                               media system
wireless
mobile
device
disposed
within said                                                                wireless mobile
wireless                                                                   device
range,




               Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                  283
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                                                     597
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                                                              digital
                                                              media file




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70
              (annotated)




              Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                  284
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                                                        wireless
                                                        mobile
                                                        device




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
              (annotated)




                                                                                                                   285
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                                                     599
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                                                      media
                                                      system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




                                                                                                    286
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                                                     600
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                                                   media
                                                   system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    287
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                                                    media
                                                    system




                                               wireless mobile
                                               device is detectable
                                               by the media
                                               system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                    288
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                                                     602
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                                                    media
                                                    system




                                               wireless mobile
                                               device is detectable
                                               by the media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




                                                                                                    289
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                                                     603
Exhibit 4 to the Complaint.




               Source: https://www.accu-chek.com/support/products/guide

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[32.4]       a Company makes, uses, sells and/or offers to sell a communication link structured to dispose said media system and said
communicati wireless mobile device in a communicative relation with one another via said at least one interactive computer network.
on        link
structured to This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                   290
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                                                     604
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dispose said     For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
media            Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
system and       Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
said wireless    one another via said at least interactive computer network”).
mobile
device in a
communicat-
ive relation
with       one
another via
said at least
one
interactive
computer
network,
                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                     291
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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                                                     606
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              Source: https://www.accu-chek.com/support/products/guide




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                                                     607
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     608
Exhibit 4 to the Complaint.




                                                 media
                                                 system




                                            wireless
                                            mobile
                                            device




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[32.5]    said Company makes, uses, sells and/or offers to sell said communication link being initiated by said media system.
communicati
on link being This element is infringed literally, or in the alternative, under the doctrine of equivalents.
initiated by
said media     For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
system,        channel with the Accu-Chek Guide.



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              Source: https://www.accu-chek.com/support/products/guide




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                                                                                                      media
                                                                                                      system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                               301
                 Case 2:23-cv-00585-JRG-RSP Document 1-4 Filed 12/11/23 Page 302 of 434 PageID #:
                                                     615
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     617
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     618
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                                                     619
Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[32.6]    said Company makes, uses, sells and/or offers to sell said wireless mobile device and media system being structured to
wireless       transmit said at least one digital media file therebetween via said communication link.
mobile
device    and This element is infringed literally, or in the alternative, under the doctrine of equivalents.
media system
being          For example, after establishing a Bluetooth channel (“communication link”) between the mySugr app installed on the
structured to user’s smartphone and the Accu-Chek Guide, the Accu-Chek Guide (“wireless mobile device") sends (“structured to

                                                                                                                                   306
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transmit said transmit”) the measured blood sugar levels (“at least one digital media file”) to the mySugr app installed on the user’s
at least one smartphone (“media system”).
digital media
file
therebetween
via       said
communicati
on link, and




               Source: https://www.accu-chek.com/products/meters/guide




               Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70

                                                                                                                                    307
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              Source: https://www.accu-chek.com/support/products/guide




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                                                     622
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                                                                              wireless mobile
                                                                              device transmits
                                                                              digital media file
                                                                              to media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




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                                                   wireless mobile
                                                   device transmits
                                                   digital media file




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[32.7]    said Company makes, uses, sells and/or offers to sell said communication link is structured to bypass the security measure of
communicati the media system for a limited permissible use of the communication link by the wireless mobile device for only
on link is transferring the at least one digital media file to, and displaying the at least one digital media file on, the media system.
structured to
bypass     the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
security
measure of

                                                                                                                                      310
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the     media     For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security
system for a      measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and
limited           thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (“security measure of
permissible       the media system”). The Accu-Chek Guide meter utilizes that communication channel exclusively for transmitting
use of the        the measured blood sugar levels to the mySugr app (“bypass the security measure of the media system for a limited
communicati       permissible use of the communication link by the wireless mobile device for only transferring the at least one digital
on link by the    media file”). The mySugr app displays the received the measured blood sugar levels. Therefore, upon information
wireless          and belief, the Bluetooth channel created between Accu-Chek Guide meter and mySugr app bypass the security
mobile            measure of the media system.
device      for
only
transferring
the at least
one     digital
media file to,
and
displaying
the at least
one digital
media file on,
                  Source: https://www.accu-chek.com/products/meters/guide
the     media
system.




                                                                                                                                           311
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                                                     625
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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     627
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     628
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                                                     629
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     630
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     631
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    display
                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                    319
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                                                     633
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                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by Company.
[34]       The Company makes, uses, sells and/or offers to sell the transmission of the at least one digital media file from the wireless
wireless         mobile device to the media system completely bypasses the security measure.
mobile
device        of This element is infringed literally, or in the alternative, under the doctrine of equivalents.
claim       32,
wherein the For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”)
transmission every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the
of the at least devices automatically exchange data without requiring users to re-enter the PIN (“bypasses the security measure”).
one     digital Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter and mySugr app
media       file completely bypass the security measure.
from        the
wireless
mobile
device to the
media system
completely
bypasses the
security
measure.

                Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     636
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     637
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                                                     638
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     639
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                    326
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                                                     640
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    327
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                                                     641
Exhibit 4 to the Complaint.




              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                    328
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                                                     642
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                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[37]        The Company makes, uses, sells and/or offers to sell the communication link is at least one of a peer-to-peer connection,
device        of Bluetooth connection, and a WiFi connection.
claim        32,
wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
communicati
on               For example, the mySugr app installed in the user’s smartphone detects the Accu-Chek Guide meter through Bluetooth
link is at least and establishes a connection (“communication link”).
one of a peer-
to-peer
connection,
bluetooth
connection,
and a WiFi
connection.



                Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                     329
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              Source: https://www.accu-chek.com/support/products/guide




                                                                                                    330
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                                                            bluetooth
                                                            connection

                                                            media system




              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                            331
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                                                     645
Exhibit 4 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[39]      The Company makes, uses, sells and/or offers to sell the device is configured to present the at least one digital-media file on
device      of a display.
claim      32,
wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
device      is
configured to For example, the Accu-Chek Guide meter displays (“present”) the measured blood sugar levels (“digital-media file”).
present the at
least     one

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digital-media
file on a
display.




                                                       show digital-
                                                       media file




                Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                Source: https://www.accu-chek.com/products/meters/guide




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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[40]      The Company makes, uses, sells and/or offers to sell at least one digital media file is provided by the wireless mobile device.
device     of
claim     32, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
wherein the at
least     one For example, the Accu-Chek Guide (“wireless mobile device") transmits the measured blood sugar levels (“at least one
digital media digital media file”) to the mySugr app installed on the user’s smartphone.
file        is
provided by
the wireless
mobile
device.



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              Source: https://www.accu-chek.com/products/meters/guide




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                                               wireless mobile
                                                                               device transmits
                                                                               digital media
                                                                               file




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




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                                                    wireless mobile
                                                    device transmits
                                                    digital media
                                                    file



               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[42.P]       A Roche Diagnostics Corporation (“Company”) makes, uses, sells, and/or offers to sell a transfer system from transferring
transfer        a media file over a communication network, comprising a media system; and a wireless mobile device.
system from
transferring a This element is infringed literally, or in the alternative, under the doctrine of equivalents.
media      file
over a


                                                                                                                                    338
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communicati For example, Company provides mySugr app (“media system”) to receive measured blood sugar levels from a Accu-
on network, Chek Guide meter (“wireless mobile device”). The mySugr app, installed on the user's smartphone, receive the measured
comprising a blood sugar levels from the Accu-Chek Guide, using a Bluetooth network (“communication network”).
media
system; and a
wireless
mobile
device,
wherein the
media system
includes:




               Source: https://www.accu-chek.com/products/meters/guide




               Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                               339
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                                                                        media system




                                                                 wireless mobile device




              Source: https://www.accu-chek.com/products/mysugr (annotated)




              Source: https://www.mysugr.com/en-us/




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              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     657
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     658
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                                                     659
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     660
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                    347
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                                                     661
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                                                     662
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[42.1]      a
wireless        Company makes, uses, sells and/or offers to sell a wireless receiver.
receiver,
                This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                For example, the mySugr app, installed on the user's smartphone, includes a Bluetooth receiver (“wireless receiver”) for
                receiving data from the Accu-Chek Guide.


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              Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/support/products/guide




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               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07


             Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
             supplement these contentions pursuant to production of such source code by the Defendant.
[42.2]     a Company makes, uses, sells and/or offers to sell a security measure.
security
measure, and   This element is infringed literally, or in the alternative, under the doctrine of equivalents.

               For example, the mySugr app, installed on the user’s smartphone, initially require users to input a PIN (“security
               measure”) which is necessary during the initial pairing process with the Accu-Chek Guide.



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              Source: https://www.accu-chek.com/products/meters/guide




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



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              Source: https://www.accu-chek.com/support/products/guide




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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Exhibit 4 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[42.3]       a
processor      Company makes, uses, sells and/or offers a processor configured.
configured to
               This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                For example, the mySugr app, installed on the user's smartphone, includes a processor for receiving data from the Accu-
                Chek Guide.




                                                                                                                                     358
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              Source: https://www.accu-chek.com/products/meters/guide




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09


                                                                                                    359
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                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[42.4]      the
media system      Company makes, uses, sells and/or offers to sell the the media system disposed in an accessible relation to at least one
disposed in       interactive computer network that has a wireless range structured to permit authorized access to said at least one
an accessible     interactive computer network.
relation to at
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
least      one
interactive       For example, the mySugr app, installed on the user's smartphone ("media system") receives the blood sugar levels to,
computer          from the Accu-Chek Guide using Bluetooth network ("interactive computer network"). The Accu-Chek Guide and the
network that      smartphone, on which the mySugr app is installed, are paired with each other using the Bluetooth network. Since, the
has a wireless    smartphone communicates and receives data from the Accu-Chek Guide using Bluetooth, it is apparent for a person
range             having ordinary skills in the art that, the media system disposed in an accessible relation to at least one interactive
structured to     computer network that has a wireless range structured to permit authorized access to at least one interactive computer
permit            network
authorized
access to said
at least one
interactive
computer
network,




                                                                                                                                        360
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                                                            interactive
                                                            computer
                                                            network

                                                           media
                                                           system




              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                            361
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                                              interactive                                             media
                                              computer                                                system
                                              network



              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                               362
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                                                  media
                                                  system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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                                                     677
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                   media
                                                   system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    365
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              Source: https://www.accu-chek.com/support/products/guide




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                                                     680
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                 Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Defendant.
[42.5]    the Company makes, uses, sells and/or offers to sell the wireless mobile device within said wireless range, wherein said
wireless      wireless mobile device is detectable by said media system.
mobile
device within    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
said wireless
range,           For example, the Accu-Chek Guide (“wireless mobile device”) and the smartphone (“media system”), on which the
wherein said     mySugr app is installed, are paired with each other using the Bluetooth network (“interactive computer network”). This
wireless         network facilitates the pairing of the smartphone and the Accu-Chek Guide when they are within Bluetooth range of
mobile           each other. The mySugr app detects the Accu-Chek Guide which is in the Bluetooth range (“wireless mobile device is
device      is   detectable by said media system”).
detectable by
said
media
system,




                                                                                                                                     367
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                                                     681
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                                                                        media system




                                                                 wireless mobile device




              Source: https://www.accu-chek.com/products/mysugr (annotated)




              Source: https://www.accu-chek.com/products/meters/guide

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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                                                     683
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              Source: https://www.accu-chek.com/support/products/guide




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     687
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     688
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                                                     689
Exhibit 4 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[42.6] at least Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on the wireless mobile
one      digital device, said media system being structured to detect said wireless mobile device disposed within said wireless range.
media       file
initially        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
disposed on
the wireless For example, the Accu-Chek Guide ("wireless mobile device") employs the Bluetooth network to pair with the mySugr
mobile           app which is installed on the user's smartphone. The Accu-Chek Guide is within the Bluetooth range of the smartphone

                                                                                                                                        376
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device, said where the mySugr app is installed. The smartphone, on which the mySugr app is installed, detects the Accu-Chek Guides
media system which are within its Bluetooth range (“media system being structured to detect said wireless mobile device disposed
being          within said wireless range”).
structured to
detect    said
wireless
mobile                                                                     media system
device
disposed
within said
wireless
range,                                                                   wireless mobile
                                                                         device




               Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                377
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              Source: https://www.accu-chek.com/products/meters/guide




                                                           wireless
                                                           mobile
                                                           device




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
              (annotated)


                                                                                                                   378
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              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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                                                      media
                                                      system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




                                                                                                    380
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                                                   media
                                                   system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    381
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                                                    media
                                                    system




                                               wireless mobile
                                               device is detectable
                                               by the media
                                               system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




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                                                    media
                                                    system




                                               wireless mobile
                                               device is detectable
                                               by the media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




                                                                                                    383
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                                                     697
Exhibit 4 to the Complaint.




               Source: https://www.accu-chek.com/support/products/guide

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[42.7]       a Company makes, uses, sells and/or offers to sell a communication link structured to dispose said media system and said
communicati wireless mobile device in a communicative relation with one another via said at least one interactive computer network.
on        link
structured to This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                   384
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dispose said      For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
media             Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
system and        Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
said wireless     one another via said at least interactive computer network”).
mobile
device in a
communicati
ve     relation
with       one
another via
said at least
one
interactive
computer
network,
                  Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     701
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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Exhibit 4 to the Complaint.




                                                 media
                                                 system




                                            wireless
                                            mobile
                                            device




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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                                                     703
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     704
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     705
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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Exhibit 4 to the Complaint.




               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[42.8]    said Company makes, uses, sells and/or offers to sell said communication link being initiated by said media system.
communicati
on link being This element is infringed literally, or in the alternative, under the doctrine of equivalents.
initiated by
said media     For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
system,        channel with the Accu-Chek Guide.


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              Source: https://www.accu-chek.com/support/products/guide




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                                                                                                      media
                                                                                                      system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




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                                                     709
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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               Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[42.9]    said Company makes, uses, sells and/or offers to sell said wireless mobile device and media system being structured to
wireless       transmit said at least one digital media file therebetween via said communication link.
mobile
device    and This element is infringed literally, or in the alternative, under the doctrine of equivalents.
media system
being          For example, after establishing a Bluetooth channel (“communication link”) between the mySugr app installed on the
structured to user’s smartphone and the Accu-Chek Guide, the Accu-Chek Guide (“wireless mobile device") sends (“structured to

                                                                                                                                   400
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transmit said transmit”) the measured blood sugar levels (“at least one digital media file”) to the mySugr app installed on the user’s
at least one smartphone (“media system”).
digital media
file
therebetween
via       said
communicati
on link, and




               Source: https://www.accu-chek.com/products/meters/guide




               Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70

                                                                                                                                    401
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              Source: https://www.accu-chek.com/support/products/guide




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                                                                              wireless mobile
                                                                              device transmits
                                                                              digital media file
                                                                              to media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




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Exhibit 4 to the Complaint.




                                                   wireless mobile
                                                   device transmits
                                                   digital media file




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Defendant.
[42.10] said Company makes, uses, sells and/or offers to sell said communication link is structured to bypass the security measure of
communicati the media system for a limited permissible use of the communication link by the wireless mobile device for only
on link is transferring the at least one digital media file to, and displaying the at least one digital media file on, the media system.
structured to
bypass    the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
security
measure of

                                                                                                                                      404
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                                                     718
Exhibit 4 to the Complaint.



the     media     For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”)
system for a      every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the
limited           devices automatically exchange data without requiring users to re-enter the PIN (“security measure of the media
permissible       system”). The Accu-Chek Guide meter uses that communication channel only for transmitting the measured blood sugar
use of the        levels to the mySugr app (“bypass the security measure of the media system for a limited permissible use of the
communicati       communication link by the wireless mobile device for only transferring the at least one digital media file”). The mySugr
on link by the    app displays the received the measured blood sugar levels. Therefore, upon information and belief, the Bluetooth channel
wireless          created between Accu-Chek Guide meter and mySugr app bypass the security measure of the media system.
mobile
device      for
only
transferring
the at least
one     digital
media file to,
and
displaying
the at least
one digital
                  Source: https://www.accu-chek.com/products/meters/guide
media file on,
the     media
system.




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Exhibit 4 to the Complaint.




              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                     721
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     722
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                                                     723
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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     724
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     725
Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    display
                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




                                                                                                    413
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                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by Company.
[44]       The Company makes, uses, sells and/or offers to sell the transmission of the at least one digital media file from the wireless
transfer         mobile device to the media system completely bypasses the security measure.
system        of
claim       42, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
wherein the
transmission For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security
of the at least measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and
one     digital thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (“bypasses the security
media       file measure”). Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter
from        the and mySugr app completely bypasses the security measure.
wireless
mobile
device to the
media system
completely
bypasses the
security
measure.


                Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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Exhibit 4 to the Complaint.




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)




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                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[47]        The Company makes, uses, sells and/or offers to sell the communication link is at least one of a peer-to-peer connection,
system        of bluetooth connection, and a WiFi connection.
claim        42,
wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
communicati
on               For example, the mySugr app installed in the user’s smartphone detects the Accu-Chek Guide meter through Bluetooth
link is at least and establishes a connection (“communication link”) for receiving the measured blood sugar level.
one of a peer-
to-peer
connection,
bluetooth
connection,
and a WiFi
connection.



                Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/support/products/guide




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                                                            bluetooth
                                                            connection

                                                            media system




              Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




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                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.

[49]      The    Company makes, uses, sells and/or offers to sell the system is configured to present the at least one digital media file on
system      of   a display.
claim      42,
wherein the      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
system      is
configured to    For example, the mySugr app installed on the user’s smartphone (“media system”), the smartphone includes a display to
present the at   show (“present”) the measured blood sugar levels (“digital media file”).

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least    one
digital media
file on a
display.




                Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




              Source: https://www.mysugr.com/en-us/diabetes-app/




                                                    display
                                                    digital
                                                    media file




                                                     media
                                                     system

              Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)


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               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Defendant.
[50]      The Company makes, uses, sells and/or offers to sell at least one digital media file is provided by the wireless mobile device.
system     of
claim     42, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
wherein the at
least     one For example, the Accu-Chek Guide (“wireless mobile device") sends the measured blood sugar levels (“at least one
digital media digital media file”) to the mySugr app installed on the user’s smartphone.
file        is
provided by
the wireless
mobile
device.




                Source: https://www.accu-chek.com/products/meters/guide




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              Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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              Source: https://www.accu-chek.com/support/products/guide




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                                                                             wireless mobile
                                                                             device transmits
                                                                             media file to
                                                                             media system




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                      432
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                                                  wireless mobile
                                                  device transmits
                                                  media file




              Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Defendant.




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                                                     747
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2. List of References

   1.   https://www.accu-chek.com/products/meters/guide, last accessed on November 16, 2023.
   2.   https://www.youtube-nocookie.com/embed/EByD_P5-j0g, last accessed on November 16, 2023.
   3.   https://www.accu-chek.com/products/mysugr, last accessed on November 16, 2023.
   4.   https://www.accu-chek.com/support/products/guide, last accessed on November 16, 2023.
   5.   https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download , last accessed on November 16, 2023.
   6.   https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, last accessed on November 16, 2023.
   7.   https://www.mysugr.com/en-us/diabetes-app/, last accessed on November 16, 2023.




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